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1    [Parties and Counsel Listed on Signature Pages]
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7
     Additional parties and counsel listed on signature pages
8
                                IN THE UNITED STATES DISTRICT COURT
9                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                                                MDL No. 3047
11    IN RE: SOCIAL MEDIA ADOLESCENT
      ADDICTION/PERSONAL INJURY PRODUCTS                        Case No. 4:22-md-03047-YGR
12    LIABILITY LITIGATION
                                                                AGENDA AND JOINT STATEMENT
13    This Document Relates To:                                 FOR FEBRUARY 23, 2024, CASE
                                                                MANAGEMENT CONFERENCE
14    ALL ACTIONS
15                                                              Judge: Hon. Yvonne Gonzalez Rogers

16                                                              Magistrate Judge: Hon. Peter H. Kang
17
            Pursuant to Case Management Order No. 1 (ECF 75) and Case Management Order No. 6 (ECF
18
     451), the Parties submit this agenda and joint statement in advance of the February 23, 2024 Case
19
     Management Conference (“CMC”).
20
     I. Update on Motions to Dismiss
21

22              A. Personal Injury Plaintiffs’ Claims Against Mark Zuckerberg
            On December 22, 2023, Defendant Mark Zuckerberg moved to dismiss certain Personal Injury
23
     (“PI”) Plaintiffs’ claims against him in his individual capacity. ECF 518. Those PI Plaintiffs filed their
24
     opposition on January 16, 2024. ECF 538. Mr. Zuckerberg filed his reply on January 23, 2024. ECF
25
     555. Pursuant to Case Management Order No. 8, the Parties are prepared to argue this motion at the
26
     Case Management Conference on February 23, 2024. ECF 581.
27
28
                                                          1
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1                 B. Hearing on Meta’s “Track 1” Motion to Dismiss
2           On December 22, 2023, Meta moved to dismiss the Multistate Attorneys General Complaint, the

3    Florida Attorney General’s Complaint, and the PI Plaintiffs’ Consumer Protection and Misrepresentation

4    Claims. ECF 517. Defendants YouTube, Snap, and TikTok joined Meta’s motion to dismiss Count 7 of

5    the PI Plaintiffs’ Amended Master Complaint. ECF 519. Plaintiffs filed their oppositions on February

6    5, 2024. ECF 600. Defendants’ reply is due February 26, 2024. ECF 451. The State Attorneys General

7    and PI Plaintiffs request argument on this motion at the April 19, 2024, Case Management Conference.

8    Should the Court wish to hold argument on this date, the Meta Defendants advise the Court that they are

9    available.

10                C. Update on Remaining Motions to Dismiss
11          On December 22, 2023, Defendants moved to dismiss the PI Plaintiffs’ remaining “non-priority
12   claims” (Counts 5, 12, 14, 16–18) asserted in the PI Plaintiffs’ Second Amended Master Complaint.
13   ECF 516. The PI Plaintiffs filed their opposition on February 5, 2024. ECF 597. Defendants’ reply is
14   due February 26, 2024. See Dkts. 479, 451.
15          On January 12, 2024, Defendant Snap moved to dismiss claims under 18 U.S.C. §§ 2252 and
16   2252A (also known as the “Identified Counts”) asserted in PI Plaintiffs’ amended Short-Form
17   Complaints pursuant to Case Management Order No. 8 (ECF 479). See ECF 533. Those PI Plaintiffs
18   filed their opposition on February 5, 2024. ECF 598. Defendant Snap’s reply is due February 15, 2024.
19   ECF 479.
20          On February 5, 2024, Defendants moved to dismiss the claims asserted in the School District and
21   Local Government Entity (“SD/GE”) Plaintiffs’ Master Complaint (ECF 504). See ECF 601. The
22   SD/GE Plaintiffs’ opposition is due on March 4, 2024, and Defendants’ reply is due on March 25, 2024.
23   See ECF 451.
24   II. Update on Plaintiff Fact Sheets (PFSs) and Defendant Fact Sheets (DFSs)
25
                  A. Personal Injury Plaintiff Fact Sheets
26          On January 29, the Court issued an Implementation Order Governing Adoption of the Plaintiff
27   Fact Sheet for PI Plaintiffs (“PI PFS Implementation Order”). ECF 596. Pursuant to that order, all PI
28
                                                         2
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1
     Plaintiffs in this MDL “must serve verified, written responses to the PFS and applicable Appendices,
2
     together with any responsive documents and applicable executed authorizations, . . . within 105 days
3
     from the date of this order” (i.e., by May 13, 2024).1 Subsequently, on February 8, 2024, the Court
4
     issued Case Management Order No. 10 (“CMO 10”), which advanced this deadline to April 1, 2024, and
5
     set a mid-April deadline for the selection of 12-15 PI bellwether Plaintiffs.
6
             During a February 14, 2024 conference in the JCCP on the PI Defendant Fact Sheet, Judge Kuhl
7
     indicated that she will set later deadlines in the JCCP for the PI Plaintiffs to complete PFSs, for
8
     Defendant to complete Defendant Fact Sheets for the PI cases, and for the selection of bellwether PI
9
     Plaintiffs. Judge Kuhl asked the JCCP Parties to meet and confer and propose deadlines within the next
10
     few weeks.
11
                  A. School District and Government Entity Plaintiff Fact Sheets
12
             On February 7, 2024, the Parties attended a Case Management Conference in the JCCP and
13
     requested that Judge Kuhl expedite the process for finalizing the SD/GE PFS. To that end, the Parties
14
     each submitted their proposed School District PFS on February 8, 2024 and a joint statement in support
15
     of their respective positions on February 9, 2024. Judge Kuhl held an informal discovery conference on
16
     February 14, 2024 to work through the Parties’ outstanding disputes. Per this Court’s CMO 10, dated
17
     February 8, the MDL Plaintiffs shall submit all PFSs by April 1, 2024. Judge Kuhl indicated that she
18
     will set a mid-May deadline for the completion of SD/GE PFSs in the JCCP to ensure there is time for
19
     the SD/GE Plaintiffs to complete a more comprehensive PFS (to facilitate case assessment).
20
     Accordingly, the Parties negotiated a PFS that they expect to be completed by all SD/GE Plaintiffs in the
21
     JCCP by May 2024, with a subset of questions to be answered by the MDL SD/GE Plaintiffs by April 1,
22
     2024.
23
             To avoid confusion and to facilitate the collection and segregation of data through MDL
24
     Centrality, the Parties in the MDL will propose (1) a School District MDL PFS (SD PFS) to be
25
     answered by April 1, 2024 and (2) a School District Supplemental Plaintiff Fact Sheet (SD SPFS) (that
26

27   1
       Defendants’ Additional Position: The PI Plaintiffs confirmed at the February 6, 2024 conference that
28   they could serve completed PFSs within sixty days.
                                                          3
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1
     includes the questions that the parties agreed would be answered after April 1, 2024 in the MDL, during
2
     the conference with Judge Kuhl).
3
             Defendants’ Additional Position:
4
             The Parties agree that the SD SPFS be answered by all non-Bellwether School Districts by
5
     October 1, 2024. The Parties disagree, however, about the deadline by which the 12-15 Bellwether
6
     School District Plaintiffs will submit the SD SPFS. Defendants propose May 1; Plaintiffs propose
7
     August 15.
8
             It is Defendants’ position that the 12-15 MDL Bellwether School Districts who are actively
9
     litigating their claims under a compressed time schedule (urged by Plaintiffs) should be able to provide
10
     the basic information requested by the SD SPFS by May 1. An additional 4.5 months from April 1 to
11
     complete approximately 8 supplemental questions is unwarranted and would unfairly infringe upon an
12
     already short discovery schedule. Defendants further note that all 333 JCCP School Districts are
13
     required to complete the full SD PFS—including the supplemental questions—by May 16.
14
             Plaintiffs’ Additional Position:
15
             Plaintiffs propose the following schedule:
16
               DATE                EVENT
17             4/1/2024            School District Plaintiffs produce SD PFS per ECF 604,
18                                 606.
               8/15/024            12 School District Plaintiffs selected as Bellwethers in
19                                 February. 2024 pursuant to ECF 604 produce SD SPFS.
               10/1/2024           Non-Bellwether School District Plaintiffs that filed SD PFS
20                                 on 4/1/2024 file a SD SPFS.
21           The schedule above accomplishes the following: (1) follows the Court’s prior Order requiring
22   Plaintiffs to answer a SD PFS by April 1 to assist in bellwether pool selection (Step 1); (2) provides
23   Defendants and the Court with the additional information for the 24 School District Plaintiffs in advance
24   the Bellwether selection in February 2025 (Step 2); (3) minimizes the heavy burden on the Non-
25   Bellwether Plaintiffs while at the same time providing information to the Defendants and the Court to
26   facilitate case valuation.
27
28
                                                          4
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1                B. Personal Injury Defendant Fact Sheets
2             As ordered by Judge Kuhl, on January 31, 2024, Defendants sent Plaintiffs their counter-

3    proposal to Plaintiffs’ proposed Defendant Fact Sheet for the PI cases. 2 The Parties held an informal

4    discovery conference with Judge Kuhl on February 7, 2024, during which Plaintiffs made a counter-

5    proposal that narrowed the personal injury DFS further to focus on data points Plaintiffs view as

6    important for bellwether selection while reserving the right to seek further plaintiff-specific discovery

7    from Defendants for cases in the bellwether pool. The Parties held a second informal discovery

8    conference with Judge Kuhl on February 14, 2024. The Parties in the JCCP are close to reaching

9    agreement on the DFS and hope to have a final version next week.

10            Defendants and the PI Plaintiffs in the MDL have agreed to meet and confer regarding what DFS

11   data could be produced in time to inform bellwether selection by this Court’s April 15, 2024, date (ECF

12   604).

13   III. Short Form Complaint Implementation Orders
14            On February 2, 2024, the SD/GE Plaintiffs filed a proposed amended stipulated implementation
15   order governing the adoption of the SD/GE Plaintiffs’ Master Complaint that also included a template
16   Short Form Complaint (“SFC”) for the Court’s consideration. See ECF 589. On February 5, 2024, the
17   PI Plaintiffs filed a proposed revised second amended stipulated implementation order governing the
18   adoption of the PI Plaintiffs’ Second Amended Master Complaint for the Court’s consideration. See
19   ECF 593. The PI Plaintiffs and Defendants are prepared to answer any questions from the Court
20   regarding these proposed orders at the CMC.
21   IV. Update on February 7, 2024 JCCP Status Conference
22            On February 7, 2024, Judge Kuhl held a status conference in the JCCP that addressed anticipated
23   procedures for PI bellwether selection and trial schedule setting. Judge Kuhl explained that she would
24   “need to know” two things regarding the MDL before setting trial dates: the discovery cutoff in the
25   MDL and the first trial date set by this Court. See Feb. 7, 2024 Status Conf. Tr. at 28:15–29:14. The
26

27   2
      Plaintiffs’ Additional Position: Plaintiffs had provided their proposed Defendant Fact Sheet to
28   Defendants on November 21, 2023.
                                                          5
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1    Parties provided Judge Kuhl with CMO 10 and Discovery Management Order 2 (ECF 606) on February
2    12, 2024.
3           Judge Kuhl has not yet entered a bellwether selection protocol, but met with the Parties to
4    discuss a proposed “grid” based on the PFS data.
5           Plaintiffs’ Additional Position:
6           Judge Kuhl indicated that the “grid” would have injuries and certain injury combinations
7    (although not all) on the vertical axis and certain Plaintiff attributes and social media usage metrics on
8    the horizontal axis of the grid. The PI Plaintiffs do not agree with Defendants’ characterization that the
9    grid’s vertical axis would have every combination of injuries.
10          Defendants’ Additional Position:
11          Judge Kuhl instructed the Parties to include Defendants’ three proposed bellwether discovery
12   pool categories—PI Plaintiffs who have alleged eating disorders, sleeping disorders, and eating plus
13   sleeping disorders—on the vertical axis of the grid, along with every other injury and combination of
14   injuries. Judge Kuhl also provided direction on certain attributes of PI Plaintiffs she would like included
15   on the horizontal axis of the grid (e.g., gender and whether the alleged injury has been medically
16   diagnosed, in addition to usage information). Judge Kuhl also noted that the Parties were free to
17   develop their own grids and “bring that to me as well” in connection with proposing bellwether
18   categories if they wished. Id. at 24:11–15. The next JCCP status conference is set for March 20, 2024.
19   V. February 22, 2024 Discovery Management Conference
20          The Parties’ next Discovery Management Conference (“DMC”) with Magistrate Judge Kang is
21   scheduled for February 22, 2024. For the Court’s convenience, the Parties attach here as Exhibit A their
22   joint status report to Judge Kang in advance of the DMC.
23
     VI. State-Specific Information Requested at the February 6, 2024 Conference
24
                 A. State Attorneys General Position
25
                        1. Jury Demand
26
            The State Attorneys General do not demand a trial by jury for any claims or issues presented in
27
     the Multistate or Florida Complaint. The State Attorneys General contend that these civil law
28
                                                          6
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1
     enforcement actions should be tried to a court, not a jury. If Meta formally requests a jury trial, the State
2
     Attorneys General reserve the right to submit briefing on the issue of whether Meta is entitled to a jury
3
     on the State Attorneys General’s claims or any subset thereof.
4
                         2. Restitution and Statutory Penalties
5
             The State Attorneys General do not intend to seek restitution in a form that is measured by the
6
     amount of money expended by individuals, state agencies, or the States as a result of Meta’s alleged
7
     misconduct. The State Attorneys General intend to seek statutory civil penalties, among other remedies.
8
                 B. Meta Defendants’ Position
9
             At this juncture in the litigation, Meta does not waive and expressly reserves any right to a jury
10
     trial under the Seventh Amendment in connection with these matters.
11
             As the U.S. Supreme Court has explained, a “civil penalty was a type of remedy at common law
12
     that could only be enforced in courts of law.” Tull v. United States, 481 U.S. 412, 422 (1987). Here,
13
     each of the States seeks, among other relief, civil penalties from Meta. Accordingly, Meta “has a
14
     constitutional right to a jury trial to determine [its] liability” on the legal claims for civil penalties
15
     asserted by the States. Id. at 425. (That the States further seek “damages, ” e.g., Compl., PRAYER
16
     FOR RELIEF A.3, further reinforces Meta’s right to a jury trial.)
17
             While the States also seek equitable relief, Meta’s “right to [a] jury trial on the legal claim,
18
     including all issues common to both claims, … cannot be abridged by characterizing the legal claim as
19
     ‘incidental’ to the equitable relief sought.” Id. It is also of no moment that, had certain States asserted
20
     their claims in state court, a jury trial right might not exist. See, e.g., Nationwide Biweekly Admin., Inc.
21
     v. Superior Ct. of Alameda Cnty., 9 Cal. 5th 279, 330-31 (2020) (“The Tull decision rested on several
22
     points in which the federal interpretation of the Seventh Amendment departs from California's
23
     interpretation of the California jury trial provision.”).
24
     VII.    Defendants’ Proposed Eligibility Criteria for PI and SD/GE Bellwether Discovery Pools
25

26               A. Parties Joint Position
            On February 2, 2024, Plaintiffs submitted their proposed bellwether discovery pool criteria (ECF
27
     592), including the following:
28
                                                             7
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1                     Any Personal Injury Plaintiff who 1) has named Meta as a Defendant; 2)
                      alleges addiction; 3) alleges a) an eating disorder (anorexia, bulimia, or
2                     binge eating disorder), and/or b) self-harm (self-harm, suicide attempt(s)
3                     or suicide); and 4) whose case was filed in or transferred to this Court and
                      who has submitted a Plaintiff Fact Sheet (PFS) by the deadline for
4                     already-filed cases under the Personal Injury PFS Implementation Order . .
                      . will be included in the Personal Injury Plaintiff Bellwether Selection
5                     Pool.
6                     Any School District Plaintiff, excluding those alleging RICO claims,
                      whose case was filed in or transferred to this Court and who has submitted
7
                      a School District Plaintiff Fact Sheet by the deadline for already-filed
8                     cases under the Personal Injury PFS Implementation Order . . . will be
                      included in the School District Plaintiff Bellwether Selection Pool.
9
     The Court preliminarily adopted Plaintiffs’ criteria, but allowed Defendants leave to submit any contrary
10
     proposal in advance of the February CMC. See CMO No. 10 (ECF 604).
11
           The Parties have conferred and agree that Plaintiffs’ criteria for the SD/GE Bellwether Pool should
12
     be applied. Following the entry of CMO 10, that criteria include: “Any School District Plaintiff,
13
     excluding those alleging RICO claims, whose case was filed in or transferred to this Court and who has
14
     submitted a School District Plaintiff Fact Sheet by April 1, 2024.” ECF 595-1, Exhibit A, p. 4.
15
           With respect to eligibility criteria for the PI Bellwether Pool, in addition to the eligibility-
16
     requirement that Plaintiffs submit a PFS by the Court’s April 1 deadline, the Parties agree that Plaintiffs
17
     claiming one or more of the following injuries are eligible for selection:
18
                   an eating disorder (defined to include generalized eating disorder, anorexia, bulimia, and
19
                    binge eating disorder);
20
                   self-harm (defined to include self-harm, suicidality, and suicide attempt(s)).
21
     However, as discussed below, the Parties disagree on whether the Bellwether Pool should include (1)
22
     non-addiction cases, (2) suicide cases, and (3) Plaintiffs who allege either body dysmorphia or sleep
23
     disorders alone. The Parties further disagree as to whether the Court should include eligibility
24
     requirements relating to age at time of filing and gender.
25
                   B. Defendants’ Position
26
           Defendants request that the Court modify the eligibility criteria for inclusion in the PI Bellwether
27
     Pool in two respects: (1) eliminate outlier cases that would skew the Bellwether Pool and would not
28
                                                            8
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1    result in representative bellwether trials, and (2) expand the criteria to include Plaintiffs who allege
2    common injuries—specifically, body dysmorphia and sleep disorders. In addition, Defendants request
3    that the Court require the Parties to reflect in their bellwether selections the adult and male Plaintiffs that
4    comprise a significant portion of this MDL.
5         First, the Court should act consistently in excluding outlier cases that will not produce
6    representative bellwether trials. Plaintiffs’ proposed criteria exclude 28 cases in which the Plaintiff
7    claims an injury caused by Defendants’ platforms, but where there is no claim of addiction, based on the
8    assertion that those cases are “outliers” and do not represent the majority of cases within this MDL. 3
9    Yet Plaintiffs simultaneously seek to include 29 cases that allege suicide (which Plaintiffs would
10   include in the “self-harm” category), without a logical rationale to support such inconsistent and unfair
11   treatment of outlier cases. The reason for this inconsistency is apparent: Plaintiffs seek to include in
12   the bellwether pool the cases with the highest potential damages (suicide cases) while
13   simultaneously excluding cases that they believe represent the lowest potential damages (non-
14   addiction cases).
15        Defendants’ position is that neither end of the proverbial barbell should be included, as those cases
16   will not result in representative bellwether trials. If the Court is going to exclude the 13% of Plaintiffs
17   who do not allege addiction as non-representative, it should likewise eliminate the 13% of Plaintiffs
18   who allege suicide.4 By screening those outliers now, the Parties’ Bellwether selections are more likely
19   to represent the majority of cases in the MDL—screening that is critical given that CMO 10 permits the
20
     3
       Contrary to Plaintiff’s claims, 87% of Plaintiffs allege addiction/compulsive use in their Short Form
21
     Complaints, meaning that 13% do not. Plaintiffs take issue with Defendants’ numbers but don’t specify
22   when they made their “detailed” review. Because SFC data is updated on a regular basis, the miniscule
     differences between the Parties’ numbers likely results from the day on which the analysis was done.
23   The injury counts Plaintiffs report are slightly smaller than the numbers Defendants report (e.g., 24
     instead of 29, 49 instead of 51). That the Parties’ counts are off by 2-5 cases out of more than 200
24   shows that the data is essentially the same.
     4
25     Plaintiffs lump together suicide and wrongful death cases, which are entirely different. Suicide cases
     involve a self-inflicted injury, where wrongful death cases allege injury caused by another. There are 29
26   cases alleging suicide (13% or 29/223 cases) and 5 cases alleging wrongful death (2% or 5/223). Both
     suicide and wrongful death cases are outliers, and the Court should exclude them. Alternatively, should
27
     the Court permit these outliers to remain in the pool, the Court also should allow the 13% of non-
28   addiction cases to remain in the pool.
                                                            9
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1    Parties to select just six Bellwether Pool cases each. This is not to say these outlier cases should never
2    be tried, and there will be a time and place for doing so; but it will significantly detract from the value of
3    the bellwether process if they are tried ahead of other cases that are substantially more representative of
4    the larger MDL.
5         The Court should reject Plaintiffs’ efforts at gamesmanship, act consistently in the exclusion of
6    outliers, and also exclude the 29 suicide cases.
7         Second, Defendants propose adding body dysmorphia and sleep disorders as eligible conditions
8    for inclusion in the Bellwether Pool. Adjusting the eligibility criteria in this way would ensure a more
9    representative pool, as the Short Form Complaint data for cases within the MDL reveals.
10        Notably, the 50 Plaintiffs (or 22% of total PI cases) who claim to have suffered a “sleep disorder”
11   and 53 Plaintiffs (or about 23% of the total PI cases) who allege “body dysmorphia” did not check an
12   SFC box, but rather wrote in “sleep disorder” or “body dysmorphia” as an “other injury” in their SFCs.
13   The fact that so many Plaintiffs affirmatively wrote in these alleged injuries in the SFC—even though it
14   was not included on the SFC—indicates that it is a meaningful injury. Indeed, the Parties agreed that
15   sleep disorders and body dysmorphia were sufficiently meaningful alleged injuries to include them as
16   standalone injury categories in the PFS, and the number of Plaintiffs who claim them is likely to grow as
17   a result.5 In an effort to maintain continuity across the cases and in anticipation of the impact of
18   including those injuries in the PFS, the Court should include both sleep disorders and body dysmorphia
19   as qualifying injuries for this bellwether process.
20         Finally, Defendants also request that the Court require the Parties to select Bellwether Pool cases
21   that are truly representative of the adult Plaintiffs who comprise half of this MDL, as well as cases that
22   reflect the gender diversity of the MDL. Because key MDL demographics on age and gender reflect that
23   nearly half (46%) of Plaintiffs were 18 or older at the time of filing, and 23% of Plaintiffs are male and
24   77% are female, consideration of gender and age will help assure a representative bellwether pool.
25

26
     5
       Plaintiffs assert that “sleep problems are almost inherent in social media addiction and thus will be
27
     present in a large majority of cases, whether they are a diagnosed disorder or not,” but that only
28   reinforces why sleep disorders should be a qualifying injury.
                                                           10
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1          Plaintiffs point to age at first use to suggest that adult Plaintiffs should not be considered in
2    selecting the Bellwether Pool. The Parties disagree as to whether this is a relevant marker, and
3    Defendants note that in different contexts, Plaintiffs have pointed to age at peak use, age of continuous
4    use, and age of first use. Until Defendants receive Plaintiffs’ expert reports, it is impossible to know
5    precisely what moment of usage Plaintiffs will contend is pivotal. One fact is clear, however: half of the
6    Plaintiffs in this MDL are adults who are more likely to have broad experience with Defendants’
7    platforms, to be able to sit for fulsome depositions, and to be able to describe their alleged injuries.
8    Those Plaintiffs should be represented proportionally in the Bellwether Pool, and counsel for Plaintiffs
9    should be concerned with assuring that as few minor Plaintiffs as necessary are subjected to the process
10   counsel elected to pursue.
11              C. PI/SD/GE Plaintiffs’ Position
12           Upon reviewing Defendants’ initial proposal for this submission, Plaintiffs agreed to add to the
13   list of eligible injuries two of those suggested by Defendants, suicidality and generalized eating disorder.
14   Plaintiffs disagree with Defendants’ other proposed departures from Plaintiffs’ proposal as preliminarily
15   adopted by the Court.6
16          First, Plaintiffs disagree that sleep disorder and body dysmorphia should constitute independent
17   bases for eligibility for the bellwether pool. These are not injury categories listed on the Short Form
18   Complaint (“SFC”), but a minority of Plaintiffs wrote them into a space for “other injuries”. These
19   injuries, however, occur almost uniformly together with the other qualifying injuries in Plaintiffs’
20   proposal: all but a handful of Plaintiffs who allege body dysmorphia 7 or sleep disorders also allege
21   eating disorder or self-harm injuries. Thus including cases in the pool based solely on body dysmorphia
22
23
     6
       The data reported by Defendants data above has inaccuracies based on Plaintiffs’ detailed review of the
24   SFCs. For example, only 24 cases do not allege addiction, in contrast to Defendants’ reported number
     of 29; 49 cases allege body dysmorphia, not 51 as Defendants report; and only 45 cases allege sleep
25   disorder, not 51 as reported by Defendants.
     7
       Defendants suggest that body dysmorphia is an eating disorder, but this is not the case. See Diagnostic
26
     and Statistical Manual of Mental Disorders: Fifth Edition, at 264-265 (classifying body dysmorphia
27   under Obsessive-Compulsive and Related Disorders, and not Feeding and Eating Disorders).

28
                                                           11
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1
     or a sleeping disorder would not be representative, and in fact, the co-occurrence of these injuries with
2
     others already among the criteria is far more common. This is not surprising given that sleep problems
3
     are almost inherent in social media addiction and thus will be present in a large majority of cases,
4
     whether they are a diagnosed disorder or not. 8
5
             Second, Defendants falsely equate their request to remove suicide from the self-harm injury
6
     category to the requirement (previously agreed to by the Parties, though Defendants now disagree) of
7
     addiction for inclusion. Addiction is the very premise of this litigation, as reflected in the name of the
8
     MDL, and almost 90% of the Plaintiffs allege addiction in their SFC. Trying a bellwether case that does
9
     not allege addiction would not advance resolution of the vast majority of the cases in this MDL. In
10
     contrast, is a type of self-harm and constitutes approximately fifteen percent of cases, and thus cannot be
11
     said to be an outlier. Excluding suicide cases from the pool would prevent early trials from addressing
12
     the full spectrum of severity of injury, thereby impeding rather than facilitating overall resolution.
13
     Defendants remain free to exclude suicide cases from their selections, and the Court will ultimately
14
     determine the kinds of cases to be tried first, but these important cases should not be excluded from
15
     eligibility and work-up for potential early trials.
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             Third, the age of the Plaintiff at the date of filing has no import for this litigation; it says nothing
17
     about when or at what age the Plaintiff started using the platform(s) or any other issue relevant to
18
     liability, causation or damages. What is relevant to all of those issues is the age of the Plaintiff when
19
     they first used the social media platforms. This has direct import for the lack of adequate age
20
     verification by Defendants. It also goes to causation and damages as the medical literature shows a
21
     positive correlation between age at first use of social media use and injury outcome. 9 In fact, the SFC
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23
     8
24     In addition, review of the SFCs shows that this injury is alleged largely by Plaintiffs represented by a
     single law firm. That firm has filed the substantial majority of its clients’ claims in the JCCP, and thus
25   sleep disorder is much more commonly alleged there.
     9
      See, e.g., Orben, A., Przybylski, A. K., Blakemore, S. J., & Kievit, R. A. (2022). Windows of
26
     developmental sensitivity to social media. Nature communications, 13(1), 1649.
27   https://doi.org/10.1038/s41467-022-29296-3.

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1
     data shows that over 50% of Plaintiffs were under the age of 10 at first use, and over 75% were under
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     the age of 12. The fact that some Plaintiffs may nonetheless not file their claims until they reach the age
3
     of majority is not surprising and has no bearing on these issues. Defendants’ purported concern for
4
     minors undergoing the discovery process is not credible or well-taken given the focus of this litigation is
5
     on the harm caused by Defendants’ platforms to this very population. 10
6
            Finally, gender is not reported on the SFC, and it is unclear how Defendants calculated the
7
     gender statistic above. PFS data will provide accurate numbers on the gender and other demographics of
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     Plaintiffs and may be taken into account by the Parties in making and arguing for their selections, but it
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     is not appropriate or efficient to layer on these requirements for eligibility.
10

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     Respectfully submitted,
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     DATED: February 16, 2024                         By: /s/ Lexi J. Hazam
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26   10
       In addition, Defendants’ position that minors (which they define as younger than 16 years of age)
     should be subjected to four (4) hours of questioning in single-Defendant cases (with an additional 1
27
     hour for each additional Defendant in multi-Defendant cases), does not support a true concern for
28   minors’ well-being.
                                                           13
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            I, Ashley M. Simonsen, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence
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